872 F.2d 419Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Joe PIERCE, Jr., Petitioner-Appellant,v.Ralph KEMP, Warden, G.D. and C.C., T. Travis Medlock,Attorney General for the State of South Carolina,Respondents-Appellees.
    No. 88-7831.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 15, 1989.Decided March 22, 1989.
    
      William Joe Pierce, Jr., appellant pro se.
      Salley Wood Elliott, Office of the Attorney General of South Carolina, for appellees.
      Before WIDENER, K.K. HALL, and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Joe Pierce, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Pierce v. Kemp, C/A No. 87-2736 (D.S.C. Nov. 18, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    